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                         UNITED STATES DISTRICT COURT



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                     FOR THE EASTERN DISTRICT OF VIRGINIA
                               Richmond Division

                                                                L ~OV~020:
STEVES AND SONS, INC.,
                                                               CLERK, U.S. DISTRICT COURT
                                                                     RICHMOND, VA
      Plaintiff,

v.                                   Civil Action No. 3:16cv545

JELD-WEN, INC.,

      Defendant.




                              MEMORANDUM OPINION

      This matter is before the Court on COUNTERCLAIMANT JELD-WEN,

INC. ' S MOTION FOR PERMANENT INJUNCTION AGAINST COUNTERDEFENDANT

STEVES   &   SONS,    INC.   (ECF No. 1631). For the reasons set forth

below, the motion will be denied.


                                  BACKGROUND

I.    Factual Background

      JELD-WEN, Inc. ("JELD-WEN") has manufactured interior molded

doorskins in plants located in the United States and abroad since

the 1970s. It built six of the nine doorskin manufacturing plants

that it has operated during that period.            The experience with

starting and operating those plants has helped JELD-WEN develop

certain knowledge about, and best practices for, various aspects
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of the deerskin manufacturing process. See Apr. 30 Trial Tr. at

258:20-264:13.

      One   of    JELD-WEN's      customers     is    Steves    and   Sons,      Inc.

 ("Steves"), an independent manufacturer of interior molded doors.

Steves competes in the interior molded doors market with other

independent      door    manufacturers       and vertically-integrated door

manufacturers like JELD-WEN and Masonite,                 both of which also

produce doorskins         for   their own use         to manufacture and sell

finished doors.         Steves relies primarily on JELD-WEN to supply it

with the deerskins needed to make the doors that Steves sells. May

7 Trial Tr. at 1555:22-1557:21. That supply occurs by virtue of a

long-term doorskin supply agreement between Steves and JELD-WEN

dated May 1, 2012 ( "the Supply Agreement") . Id. at 1564: 17-1565: 17.

The   Supply Agreement,         which   is    still    in effect      today,    will

terminate in September 2021, based on a notice of termination that

JELD-WEN sent to Steves in September 2014. See id. at 1566:14-22;

CDX-076.

      That notice of termination followed a shift in JELD-WEN' s

business strategy that was put into motion following a management

transition.      Philip Orsino was JELD-WEN' s           CEO when the Supply

Agreement was signed,           but Kirk Hachigian        ("Hachigian")        became

JELD-WEN's CEO in March 2014. With Hachigian as CEO, JELD-WEN began

to take a quite aggressive approach with respect to supplying

deerskins to independent door manufacturers,                   including Steves,

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because, as Hachigian expressed to Steves, the Supply Agreement

was too favorable to Steves.            Consequently,         when Sam Steves and

Edward Steves, the principal officers of Steves, met with JELD-

WEN executives to discuss the Agreement in August 2014, JELD-WEN

insisted that Steves agree to add a capital charge (of $0.40 per

skin)    to the normal doorskin prices permitted under the Supply

Agreement and to otherwise increase the price. Steves refused to

accede to JELD-WEN' s        demands,    and shortly thereafter,                  JELD-WEN

sent a letter terminating the Supply Agreement. See May 7 Trial

Tr. at 1568:8-1580:25.

        At   some   point    after   receiving         that    letter           and   after

unsuccessfully trying to arrange an alternate source of supply

from Masonite, Steves started to investigate the possibility that

Steves might build its own doorskin manufacturing plant ("the MDS

Project")     or obtain an alternate doorskin supply from foreign

suppliers. Id. at 1581:23-1582:2. Two things caused Steves to take

that     approach    more    seriously.       First,     based       on     a     Masonite

presentation,       Steves    reasonably      believed        that        Masonite      was

withdrawing from the interior molded doorskin market. As a result,

independent door manufacturers like Steves could obtain doorskins

on the domestic front only from JELD-WEN,                 which had a strained




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relationship with Steves after Hachigian' s arrival. 1 See id.                         at

1575:7-1576:15. Second,          although,       after receiving the notice of

termination,       Steves continued to work with JELD-WEN to resolve

their differences.           However,   on March 26,           2015,   JELD-WEN sent

Edward Steves another letter stating that JELD-WEN would reserve

the   right   to    assert     that   the       Supply Agreement       terminated      on

December 31, 2019 instead of in September 2021 (the date originally

set by JELD-WEN and the Supply Agreement).                      See id.   at 1582: 9-

1583: 23; CDX-089. This threat was more bullying by JELD-WEN and it

"accelerated       [Steves']     concern        [about   the    termination       of   the

Supply Agreement] dramatically." May 7 Trial Tr. at 1585:12-22. 2

      However, even before JELD-WEN sent that second letter, Steves

 (also in March 2015)          retained John Pierce            ("Pierce") ,   a   former

JELD-WEN employee, as a consultant for two reasons. First, Steves

asked Pierce       to provide     information that             Steves could use         in




1 Whether Steves could have acquired enough deerskins from Masonite
to sustain its molded door business notwithstanding the latter's
refusal to enter into any long-term supply agreement was disputed
at trial. But, it is not disputed that Masonite would not enter a
long-term supply agreement.    Instead, Masonite offered only spot
sales which, of course, provided no reliable source of supply.
And, even then the prices proposed by Masonite were quite high.
This dispute is relevant here only because this background serves
to   show    the   factors   motivating   Steves'    trade  secret
misappropriation.
2 During the course of this case, JELD-WEN later abandoned that
position and advised that it would not seek to terminate the Supply
Agreement as of December 2019. May 7 Trial Tr. at 1668:11-21.
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furtherance of its MDS Project. May 7 Trial Tr. at l53l:l6-l532:l;

May 8 Trial Tr. at 1792:17-21. Second, Steves wanted Pierce to

"confirm[]    the   input   costs"   for   JELD-WEN's   doorskins,    which

provided the basis for doorskin prices under the Supply Agreement.

May 7 Trial Tr. at 1530:3-11; May 8 Trial Tr. at 1770:25-1772:15,

1809:4-21. The Supply Agreement required JELD-WEN to give annual

notice of doorskin prices and related input costs for that year,

and also allowed Steves to verify those inputs,              including by

requesting "back-up documentation" if an affidavit from JELD-WEN

did not settle the matter. See May 8 Trial Tr. at 1772:21-1774:16;

CPX-044 §§ 6(c), 21. 3 But, as a result of communications between

Edward Steves and JELD-WEN, Steves believed that JELD-WEN was not

providing accurate input costs, or enough information to verify

the accuracy of those costs. Accordingly, Steves requested that

Pierce confirm the costs given by JELD-WEN or,             alternatively,

indicate what the input costs should be, based on his knowledge.

May 7 Trial Tr. at 1530:12-24; see also May 8 Trial Tr. at 1791:18-

1792:16.

      When Pierce was hired, both Edward and Sam Steves knew that

he had left his employment with JELD-WEN in June 2012. See May 7



3 Whether that information was required only if JELD-WEN increased
prices is subject to dispute that will be resolved in another
opinion. But that dispute is of no moment here because JELD-WEN
had raised prices so it owed Steves the information for the
increased prices.
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Trial Tr. at 1531:9-15. And, when Pierce met with Steves in March

2015,     Pierce   disclosed    to   Edward   Steves    that   he    had   a

confidentiality agreement with JELD-WEN. See May 3 Trial Tr. at

1024:6-15. Nonetheless, Steves used Pierce to obtain confidential

information from JELD-WEN. For instance, on March 19, 2015, after

having talked to several         JELD-WEN employees,      Pierce e-mailed

Edward Steves a report with extensive information about "important

choices that would need to be made by anyone contemplating entering

the business of molded door skin manufacturing." Id. at 1029:23-

1030:25; see also CPX-101 at 1. That report contained, among other

things, information about the optimal configuration and operation

of a doorskin plant, see CPX-101 at 80-81; ECF No. 1633-2 at 9-11

 (Trade Secret Nos. 9, 10, and 11), which could help a company like

Steves-with no previous experience in doorskin manufacturing-build

and run such a plant, see May 1 Trial Tr. at 636:25-637:14; May 4

Trial Tr.     at 1331: 2-9;    May 9 Trial Tr.     at 2023: 13-23.    After

receiving the report, Edward Steves told Pierce that he found it

"very informative." CPX-103.

        Several days later, on March 23, Edward Steves sent Pierce a

text message seeking information about JELD-WEN's "wood chip and

resin pricing by location." CPX-105. On April 4, Pierce sent the

Steves Brothers another report that contained, among other things,

JELD-WEN's wood fiber and resin costs for each plant. See CPX-109

at 60-61; ECF No. 1633-2 at 51-52 (Trade Secret Nos. 46 and 47).

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These costs were specific to JELD-WEN and shed light on its cost

structure and resulting deerskin prices, so they could benefit, in

a general way, another company that used the same wood fiber or

resin as JELD-WEN. See Apr. 30 Trial Tr. at 349:7-350:17; May 2

Trial Tr. at 791:4-14; May 4 Trial Tr. at 1366:23-1367:6. After

receiving the report, both Edward and Sam Steves referred to the

information as helpful. See CPX-110; CPX-lll.

      On June l, 2016, in response to an e-mail from Sam Steves

asking   how   to    mitigate    a   condition     known       as   "pre-cure" 4   on

deerskins,     Pierce     provided         a    report     detailing        several

manufacturing variables that can be controlled to mitigate pre-

cure. See CPX-220; ECF No. 1633-2 at 26-28 (Trade Secret No. 23).

Taken    together,    these     variables      comprise    a    unique    piece    of

information that is only available to JELD-WEN. See May l Trial

Tr. at 642:17-644:9; May 4 Trial Tr. at 1354:22-1355:20. After

sending this report,      Pierce did not perform any more tasks on

Steves' behalf. See May 7 Trial Tr. at 6-15.

      Steves also received some of the information about JELD-WEN's

manufacturing process through another former JELD-WEN employee,

John Ambruz     ( "Ambruz") .    Steves engaged Ambruz as a               full-time



4 Pre-cure is a condition wherein the surface of a doorskin is not
properly consolidated with the rest of the skin before the doorskin
is cured. As a result, the surface can separate from the rest of
the deerskin, causing problems in the finished door. May 4 Trial
Tr. at 1354:5-17.
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consultant in July 2015, and still employed him in that position

at the time of trial. May 7 Trial Tr. at 1540:3-15, 1586:21-25.

Because Ambruz had considerable experience in the interior molded

doorskin industry, Steves hired him to assist with the MDS Project,

primarily by completing a study about the feasibility of Steves

building a doorskin manufacturing plant ("the Feasibility Study").

See id. at 1587:1-11; May 3 Trial Tr. at 1066:2-14. On March 30,

2016, Ambruz e-mailed to Steves the completed Feasibility Study,

which discussed the challenges associated with building a doorskin

manufacturing plant-particularly the cost, time, and need for a

manufacturing partner. See May 7 Trial Tr. at 1587:15-1591:9; CPX-

200. By describing these problems in such detail, the Feasibility

Study helped Steves decide whether it could build its own plant,

apparently even more so than Pierce's reports. May 7 Trial Tr. at

1591:10-22, 1702:21-1703:6; see also May 8 Trial Tr. at 1836:17-

1837:15. The extent to which the Feasibility Study incorporates

JELD-WEN information acquired by Pierce was not proved at trial.

See May 7 Trial Tr. at 1687:15-20.        And, there is dispute whether

any information provided by Ambruz was a trade secret.

      Then, in June 2016, Sam Steves sent an e-mail to Ambruz and

Gregory Wysock ("Wysock")-a former Masonite employee who was not

hired by Steves until July 2016, id. at 1688:1-13, 1697:13-15-with

an attachment that combined the various communications that Steves



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had received from Pierce throughout his consultancy. 5 See id. at

1689:5-1693:23; CPX-231. Sam Steves believed that the compendium

would help with the work on the MOS Project. May 7 Trial Tr. at

1694:2-23.

      On July 20, 2016, Ambruz asked Sam Steves' assistant to scan

and e-mail him a document with Pierce's "recommendation on the

best way for J [ELD] -w [EN] to expand its production capacity," which

Pierce had prepared as a JELD-WEN employee in 2006              ( "the 2006

Pierce Proposal"). See Ambruz Dep. at 560:14-21; May 3 Trial Tr.

at   1002:10-23.    The   Proposal    included   information    about   the

proposed     configuration,   capacity,   measurements,     and projected

efficiencies of JELD-WEN's Louisiana plant,~ CPX-245; ECF No.

1633-2 at 36 (Trade Secret No. 31), which could help a potential

competitor evaluate the possible construction of a new plant, see

Apr. 30 Trial Tr. at 381:5-382:15; May 4 Trial Tr. at 1361:22-17.

The scanned Proposal contained some handwriting in the margins.

Although the provenance of those handwritten notes is uncertain,

Wysock also attended a meeting at Steves' office on July 20, and,

in deposition, Wysock said that the handwriting resembled his own.

Wysock Dep. at 720:13-723:21.




5 Sam Steves had also sent the compilation to Ambruz in November
2015. May 7 Trial Tr. at 1694:2-14.
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          The most recent misappropriation happened on February 17,

 2017, when, in the course of discovery in the antitrust case, Sam

 Steves viewed several       confidential JELD-WEN documents without

 JELD-WEN's consent. Stipulation of Undisputed Facts {ECF No. 1586-

 1)   1   15. He took and saved a screenshot of one document that

 contained the capital charge that JELD-WEN charges Lynden Door, an

 independent door manufacturer. May 7 Trial Tr. at 1708:20-25; see

 also CPX-206; ECF No. 1633-1 at 64 {Trade Secret No. 59). If it

 builds a      doors kin manufacturing plant,     Steves could use this

 information to determine prices or premiums to charge customers;

 if it does not, it could still use the number to gain an advantage

 in deerskin price negotiations with JELD-WEN or other deerskin

 suppliers. May 2 Trial Tr. at 899:20-900:4; May 4 Trial Tr. at

 1368:21-1369:11. However, on April 28, 2017, the Court enjoined

 Steves and the Steves Brothers from using that information "for

 any business purpose whatsoever," ECF No. 192, and on October 6,

 found no evidence that it had been used, ECF No. 422 at 1. There

 was also no evidence at trial that the trade secret had been used

 after that point.

          In early 2017, Steves reached an "interim conclusion" that it

 could not feasibly build its own deerskin plant because it lacked

 the time, money, and manufacturing partners needed to do so before

 the Supply Agreement was to terminate. May 7 Trial Tr. at 1591:23-

 1592:17. There was no evidence that Steves has, to date, actually

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 used any JELD-WEN trade secrets to build a doorskin manufacturing

 plant or to negotiate with JELD-WEN or other suppliers for more

 favorable doorskin prices. However, at the time of trial, Ambruz

 was still working on the MDS Project, and Wysock was still employed

 by Steves. May 7 Trial Tr. at 1696:21-1697:17; May 8 Trial Tr. at

 1836:7-12.      In    addition,       although          Steves       has     informed      some

 customers     with     which    it      had     discussed        a    possible         doorskin

 manufacturing plant that such a plant is unlikely, Steves has not

 completely abandoned its plans to build a plant. See May 7 Trial

 Tr.   at    1696:9-1699:8.       In     fact,      it    continues         to    look    for   a

 manufacturing        partner,     and     remains        in     contact         with    several

 potential partners that responded positively to Steves' earlier

 communications. Id. at 1699:9-1702:20.

 II.     Procedural Background

         Based on these facts, JELD-WEN asserted counterclaims against

 Steves for,     inter alia, misappropriation of trade secrets under

 the federal Defend Trade Secrets Act ( "DTSA") and the Texas Uniform

 Trade Secrets Act ("TUTSA"). It sought both damages and injunctive

 relief for both claims.

         At trial, the jury was presented with a list of sixty-seven

 trade      secrets    asserted       by   JELD-WEN.           After        considering      the

 evidence,     the    jury   determined          that     only    eight       alleged. trade

 secrets-Nos. 9, 10, 11, 23, 31, 46, 47, and 59-constituted trade

 secrets. See Verdict Form (ECF No. 1609). It then concluded that,

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 for the DTSA claim, seven trade secrets (all except 59) had been

 misappropriated. Finally, the jury found that the misappropriation

 of those eight trade secrets was not willful and malicious. See

 id. at 6-7, 14, 18, 27, 34. Consequently, and based on the expert

 testimony of John Jarosz, the jury determined that JELD-WEN was

 entitled to reasonable royalty damages of $1.2 million. Id. at 40.

 The only difference as to the TUTSA claim was the jury's finding

 that trade secret 59 had been misappropriated, but not willfully

 and maliciously. See id. at 46-47, 54, 58-59, 67-68, 74-75. The

 jury's TUTSA and DTSA reasonable royalty awards were identical.

 Id. at 80.

                                      DISCUSSION

 I.   Availability of Permanent Injunctive Relief

       The    DTSA allows       courts   to    supplement     damages    awards   by

 granting     injunctions       "to   prevent    any      actual   or   threatened

 misappropriation."        18     U.S.C. § 1836(b) (3) (A) (i).         The   TUTSA

 similarly permits injunctions against                   "[a] ctual or threatened

 misappropriation,"       so long as       the injunctions do not prevent

 persons       "from      using       general       knowledge,      skill,        and

 experience            acquired during employment." Tex. Civ. Prac.                 &

 Rem. Code§ 134A.003(a).

       Steves agrees that, as a general matter, courts are empowered

 to grant injunctive relief in addition to damages. It contends,

 however,     that     JELD-WEN's     request      for    injunctive    relief     is

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 foreclosed by its evidence and arguments at trial that provided

 the basis for the jury's reasonable royalty award. In Steves' view,

 the reasonable royalty was based on evidence that the award of

 damages would permit future use of the eight misappropriated trade

 secrets by Steves, with the result that an injunction predicated

 on use would constitute a double recovery for the same injury.

 JELD-WEN, on the other hand, agrees that it cannot have a double

 recovery, but argues that the reasonable royalty and its proposed

 injunction address two different types of harm.                    The former,   it

 says, is based on the present value of the misappropriated trade

 secrets   at     the   time   of    the    hypothetical     negotiation,      which

 incorporates in part the potential of those secrets' future use,

 whereas   the    latter   prevents        actual   future   use.    Consequently,

 according   to    JELD-WEN,    it    can have      injunctive      relief   without

 effecting a double recovery.

       The parties rightly agree that a party may not receive a

 double recovery-that is,           "more than one recovery for the same

 injury." 6 TMRJ Holdings,      Inc. v. Inhance Techs., LLC, 540 S.W.3d




 6 Steves asserts that Section 134A.003(b) of the TUTSA "recognizes
 the prohibition against a double recovery." Steves Opp. (ECF No.
 1663) (Under Seal) at 9. This reading is difficult to comprehend.
 That TUTSA provision permits courts to impose running royalties-
 in which the defendant pays the plaintiff for future uses of the
 misappropriated trade secret-instead of prohibitive injunctions
 when such injunctions are inequitable or impractical . See Tex.
 Civ.    Prac.   &     Rem.    Code§ 134A.003{b);     see    also   18
 u.s.c. § l836(b) (3) (A) (iii). However, the royalty in this case was
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 202, 208 (Tex. App. 2018); see also Artis v. Norfolk & W. Ry. Co.,

 204 F.3d 141, 143 (4th Cir. 2000)        (citing 18B Charles A. Wright &

 Arthur R. Miller, Federal Practice and Procedure§ 4476             (3d ed.

 2004)). 7 In light of this principle,         courts have found double

 recoveries where plaintiffs have been awarded "damages for future

 use and . . . a permanent injunction barring such use." Home Pride

 Foods, Inc. v. Johnson, 634 N.W.2d 774, 784 (2001). In Home Pride

 Foods, for instance, the trial court had awarded the plaintiff a

 reasonable royalty for "the value of future sales generated by"

 the   trade   secret    misappropriation,     but   also    enjoined    the

 defendants from any future use of the trade secrets. Id. Without




 awarded by the jury under an entirely different provision, which
 allows for a reasonable royalty as a form of compensatory damages.
 See   Tex.    Civ.     Prac.   &   Rem.   Code§ 134A.004(a);    18
 U.S.C. § 1836(b) (3) (B) (ii). Steves would have a very strong
 argument if the Court awarded the royalty under Section
 134A.003(b), but that is simply not the case here.

 7 Steves also cites Sperry Rand Corp. v. A-T-O, Inc., 447 F.2d 1387
 (4th Cir. 1971) and DSC Communications Corp. v. Next Level
 Communications, 107 F.3d 322 (5th Cir. 1997) as supporting this
 proposition. However, as the Court has already recognized, Sperry
 Rand's statement that a plaintiff cannot recover both its actual
 losses and a defendant's unjust gains from trade secret
 misappropriation is no longer correct in light of the plain
 language of the DTSA. See Second Summary Judgment Op. (ECF No.
 1581) at 7 (citing Am. Sales Corp. v. Adventure Travel, Inc., 862
 F.   Supp.   1476,    1479    (E.D.  Va.  1994));   see   also   18
 u.s.c. § 1836(b) (3) (B) (i). Similarly, DSC Communications never
 addressed the double recovery issue, holding that the plaintiff
 had not suffered any irreparable injury because it was adequately
 compensated by its damages for lost sales. See 107 F.3d at 328.
 Thus, neither case helps Steves here.
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 explanation, the court reached the obvious conclusion that, based

 on    the   evidence        in   that   case,    the    reasonable      royalty     was

 "inconsistent with the issuance of a permanent injunction," and

 therefore reversed the award of such damages. Id. Similarly, in

 Robert L. Cloud        &   Associates, Inc. v. Mikesell, 82 Cal. Rptr. 2d

 143   (1999),     the court found that the trial court's reasonable

 royalty award would give plaintiff a double recovery, whether that

 award was given as a form of damages (under the California Uniform

 Trade Secrets Act's counterpart to Section 134A. 004 (a)                        of the

 TUTSA) or as a form of injunctive relief (under the counterpart to

 Section l34A.003(b)). The first approach was improper because the

 jury had     already        awarded damages      for    its    actual    losses     and

 defendants' unjust enrichment, and the second could not have been

 valid because the trial court had also enjoined the future use of

 trade secrets. See id. at 1149-50. Accordingly, the court held

 that the reasonable royalty award improper. Id. at 1151.

       Both the DTSA and the TUTSA plainly permit courts to award

 damages     and   to       enjoin   defendants    who    are   found     liable     for

 misappropriating trade secrets. See 18             u.s.c. § l836(b)      (3)   (A)-(B);

 Tex. Civ. Prac.        &    Rem. Code§ l34A.004(a). Thus, several courts

 have concluded that reasonable royalties and permanent injunctions

 can co-exist without running afoul of the one-satisfaction rule.

 See RKI, Inc. v. Grimes, 200 F. Supp. 2d 916, 926 (N.D. Ill. 2002);

 TMRJ Holdings, 540 S.W.3d at 209-10; Sonoco Prods. Co. v. Johnson,

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 23 P.3d 1287, 1290 (Colo. App. 2001). Those courts reasoned that

 the royalties were permissible because they arose from some "use

 of the misappropriated information prior to the issuance of the

 injunction." RKI, 200 F. Supp. 2d at 926 (emphasis in original);

 see also TMRJ Holdings, 540 S.W.3d at 210 ("The reasonable-royalty

 damages .       were not based on actual future use of the trade

 secret.     Instead,     they     compensate [d]           purely      for    the

 misappropriation of the technology, which has a present value based

 in part on potential for future use, regardless of whether that

 use came to fruition."); Sonoco Prods., 23 P.3d at 1290 (royalty

 was    based    on     "development        costs      of    the     information

 misappropriated"     rather   than    "future      gains"    related    to   that

 information).

       These general principles, of course, are applicable dependent

 upon the facts of particular cases.                In this case,    the record

 establishes that an injunction against the use of the trade secrets

 would constitute a double recovery and would run contrary to the

 testimony that JELD-WEN presented in order to secure a reasonable

 royalty damage award from the jury.          In particular, Jarosz, JELD-

 WEN's expert witness on damages, testified that:

             A lump sum agreement would allow the user of
             the intellectual property -- in this case the
             presumed user, or the assumption that I've
             made is that it's Steves. They would be able
             to use this information for as long as they
             want in any way that they want.       So they
             wouldn't be limited to a time frame that would

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              be constrained in a license. A lump sum fee
              would allow them to use the trade secrets as
              long as those are valuable -- or the alleged
              trade secrets as long as they are valuable to
              Steves.

 TS   Trial    Tr.   at   2208:8-17.        That    testimony    quite   clearly

 establishes in the mind of a reasonable juror that an award of a

 reasonable royalty would allow Steves to use any information found

 to be a misappropriated trade secret without restraint either time

 or circumstance.     And that point was pursued in JELD-WEN's closing

 argument when counsel, commented upon Jarosz' testimony and said

 that:

              Mr. Jarosz explained that what he did was look
              at reasonable royalty really in two different
              ways.   First, he took into account the fact
              that Steves could use the trade secrets either
              to build a deerskin plant in the future or to
              negotiate better pricing in the future . . .
              [H]e concluded that a reasonable royalty here
              would cost $9.9 million.

 TS Trial Tr. at 2355:25-2356:24.

         It could not be clearer from Jarosz's testimony that the jury

 was informed that if,       as to any misappropriated trade secret,

 Steves was assessed with a reasonable royalty damage that Steves

 would be enabled to use the misappropriated information "for as

 long as they want in any way that they want."                Put another way, a

 lump sum royalty "would allow them                [Steves]   to use the trade

 secrets as long as those are valuable - or the alleged trade

 secrets as long as they are valuable to Steves."                Having elected


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 to leave that testimony intact, and having elected to press the

 theory     in   closing   argument,   JELD-WEN   established    a   factual

 scenario that is unlike any of the decisions on which it relies to

 argue that, under appropriate circumstances, a court may award

 both damages by way of reasonable royalty and an injunction against

 future use.      Not one of those cases involved a jury verdict of

 reasonable royalty damages that was obtained upon the presentation

 to the jury of testimony that an award of reasonable royalty

 damages would allow the misappropriator to use the misappropriated

 information for as long as it wanted in any way that it wanted.

       Following the initial briefing on JELD-WEN' s            request for

 permanent injunction, the Court called upon the parties to explain

 further the significance of Jarosz's most unusual testimony and

 the theory that it put to the jury in support of a claim for

 reasonable royalty.       JELD-WEN did not really address that testimony

 or explain why it did not bar injunctive relief, notwithstanding

 having been given a second opportunity to make such an explanation.

 Instead,    JELD-WEN sought to present a revised version of what

 Jarosz actually had said.       Thus, JELD-WEN says that:

             Mr. Jarosz responded that it would be a matter
             of    economic   efficiency:    the    parties
             hypothetically might prefer a lump sum payment
             that would cover payments over time, rather
             than   hypothetical   royalty   based   on   a
             percentage of certain revenues, which would
             require the parties to engage in continual
             monitoring and accounting.


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 SONS ,    INC . ,    p.    29 .     That simply does not address the actual

 testimony that JELD-WEN (through Jarosz) used to secure an award

 of a reasonable royalty.                 Nor can JELD-WEN alter the impact of

 Jarosz' s testimony at trial by citing to what he had said in

 depositions or in an earlier report.                   Those materials were not

 made available to the jury and thus the jury had no way of using

 them to frame an understanding of what Jarosz actually told the

 jury in explaining why an award of reasonable royalty damages was

 appropriate and what it should be.

          JELD-WEN next argues that the testimony on which Steves relies

 is   merely         part    of     Jarosz's    explanation of   the   hypothetical

 negotiation in which a royalty rate would be agreed.                      However,

 when Jarosz's testimony is viewed in its entirety, the testimony

 is far more than JELD-WEN posits.

          First, Jarosz acknowledged that he knew of no evidence that

 Steves had used the trade secrets either to build a doorskin plant

 or to secure favorable                 terms   in negotiating the purchase of

 deerskins.          TS Tr. 1481, 1. 6-9; TS Tr. 1492, 1. 12-15.              Thus,

 past use was not a predicate for the royalty rate that Jarosz urged

 the jury to adopt.                To the contrary, future use was the predicate

 for the requested damage award, and the royalty damage that Jarosz

 proposed was a lump sum.               Thus, considered as a whole, Jarosz urged

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 the jury to assess as JELD-WEN's damage a lump sum of $9.9 million

 for the future use of sixty-seven trade secrets.           It was in that

 context that he told the jury that, if a lump sum of $9.9 million

 was assessed:    "They [Steves] would be able to use this information

 for as long as they want in any way that they want."                     He

 underscored that point by telling the jury that: "A lump sum fee

 would allow them [Steves] to use the trade secrets as long as those

 are valuable - or the alleged trade secrets as long as they are

 valuable to Steves."     TS Tr. 2208.

      Whether inadvertently or intentionally, JELD-WEN put forth

 Jarosz' s view of things       to entice the     jury to award royalty

 damages.   Indeed, Jarosz's testimony that, if JELD-WEN received a

 reasonable royalty (in the amount that he posited), Steves could

 use the misappropriated trade secrets for as long as it wanted in

 any way that     it wanted was      reasonably calculated to be         the

 predicate of a damage award in the amount that Jarosz postulated.

 Having secured a reasonable royalty award based on what Jarosz

 told the jury, JELD-WEN cannot now be heard to argue that Steves

 should be enjoined permanently from using the misappropriated

 trade secrets that Jarosz said that Steves could use for as long




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 as it wanted in any way that it wanted if the jury would award

 damages in the amount of $9.9 million. 8

         Moreover,   in   pursing   that    strategy    and   presenting   that

 evidence, JELD-WEN also made the case that it had an adequate

 remedy at law if it was awarded damages.                For that additional

 reason, JELD-WEN has failed to prove entitlement to an injunction.

         For the foregoing reasons, COUNTERCLAIMANT JELD-WEN, INC.'S

 MOTION FOR PERMANENT INJUNCTION AGAINST COUNTERDEFENDANT STEVES &

 SONS, INC. (ECF No. 1631) will be denied.             Having disposed of the

 request for injunctive relief in this fashion, there is no need to

 analyze JELD-WEN's arguments in support of injunctive relief under

 eBay.

         It is so ORDERED.



                                                /s/
                               Robert E. Payne
                               Senior United States District Judge



 Richmond, Virginia
 Date: November 30, 2018




 8Because the jury found that fewer than sixty-seven alleged trade
 secrets had been misappropriated, it made a reduced award.
 (Memorandum Opinion, ECF No. 1779, p. 29).
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